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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DESHQUIC FITZGERALD, on                       )
his own behalf and on behalf of               )
those similarly situated,                     )
                                              )
      Plaintiff,                              )
                                              ) CASE NO.: 1:12-CV-01461-TWT
v.                                            )
                                              )
C.U. EMPLOYMENT,                              )
INC.,                                         )
                                              )
      Defendant.                              )

              JOINT PETITION FOR SETTLEMENT APPROVAL
                    AND ENTRY OF FINAL JUDGMENT

      The Parties, by and through counsel, and pursuant to the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., respectfully petition this Court

to (1) approve their settlement of this action, (2) approve the release of certain

FLSA claims, and (3) dismiss this action with prejudice. In support of this Joint

Petition, the Parties represent to the Court the following:

      I.       Procedural Posture

      1.       On April 27, 2012, Plaintiff Deshquic Fitzgerald filed a complaint

against Communications Unlimited, Inc., alleging violations of the FLSA. (Doc.

1). Plaintiff filed an Amended Complaint on August 7, 2012, adding Defendant

C.U. Employment, Inc. (“CUEI”), Fitzgerald’s properly named employer. (Doc. 9).
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Plaintiff later dismissed Communications Unlimited, Inc. (Doc. 11), leaving CUEI

as the only remaining Defendant.

      2.         Two “Consent to Join Collective Action” opt-in forms also have been

filed in this matter. Lovett Brooks filed his opt-in form on May 2, 2012. (Doc. 4).

Jones Ampratwum1 filed his opt-in form on January 9, 2013. (Doc. 24). No other

opt-in forms have been filed, and the case has not been certified as a collective

action.2

      II.        The Parties’ Claims and Defenses

      3.         CUEI provides cable, telephone and internet installation services for

cable companies. Plaintiffs were cable installers and technicians (“Technicians”)

and allege that they were employed by CUEI. Plaintiffs claim they routinely

worked over 40 hours per week without receiving overtime compensation in

violation of the FLSA.

      4.         CUEI denies that it violated the FLSA. CUEI pays Technicians on a

piece rate basis, including paying Technicians overtime in the event they work

over 40 hours in a week.                 Overtime pay is calculated by dividing the total

production for the week by the total number of hours worked, which produces an

effective hourly rate for the week. Technicians then receive a premium of one-half

their effective hourly rate for each overtime hour worked. See 29 C.F.R. §§

      1
           Ampratwum’s name is incorrectly spelled Ampratrum on the Notice.
      2
           For purposes of this Joint Petition, the opt-ins shall be referred to as Plaintiffs.


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778.111(a), 778.318(c). CUEI’s pay system has been audited by the United States

Department of Labor and was found to be in compliance with the FLSA.

      5.    Plaintiff Fitzgerald, who worked for CUEI for approximately three

months, was paid by CUEI under the piece-rate system described above. As part

of that system, Fitzgerald was required to record his time each day, including the

time he arrived at the warehouse or started a job, the time he left the warehouse or

ended a job, and the travel time between jobs or between the warehouse and jobs.

At the end of each week, Fitzgerald signed a time sheet reflecting the total hours

worked, and certifying that his time sheet was accurate. CUEI contends that

Fitzgerald never recorded more than 40 hours worked in a single week.

      6.    With respect to Plaintiffs Brooks and Ampratwum, CUEI denies that

they ever were employed by CUEI. Rather, CUEI contends that at all times

Brooks and Ampratwum were independent contractors, including for periods of

time as independent contractors of Communications Unlimited Marketing, Inc., a

subcontractor of CUEI that is a separate and distinct entity from CUEI. Brooks

and Ampratwum were compensated by Communications Unlimited Marketing,

Inc. pursuant to a piece rate system similar to the one used by CUEI.

      7.    This is not a case where liability is conceded by CUEI and the

calculation of damages is the only remaining issue. Rather, CUEI maintains that it




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is not liable to Plaintiffs in any respect. 3 Likewise, this is not a case in which the

Parties agree that the Plaintiffs worked more than 40 hours in a week but dispute

liability. Instead, CUEI contends that the time records signed by Fitzgerald, and

other facts, clearly show that he worked less than 40 hours in a week.

      8.       Nevertheless, in an effort to avoid further expenses associated with

the litigation of this action and any appeal or post-verdict motions that may be

filed, the Parties have reached a comprehensive settlement addressing any claims

Plaintiffs have or may have against CUEI, Communication Unlimited, Inc., and/or

Communications Unlimited Marketing, Inc.

      III.     The Proposed Settlement

      9.       Except as a result of a final judgment after trial on the merits, a

compromise settlement of an FLSA claim generally will not constitute a valid

waiver of FLSA claims unless the settlement is supervised (1) in an administrative

process by the Wage and Hour Administrator of the United States Department of

Labor, or (2) by judicial approval of a compromise settlement, entered as a final

judgment in an action brought under the FLSA. See, e.g., Lynn’s Food Stores, Inc.

v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982). The Parties therefore

seek Court approval of their settlement.

      10.      The highlights of the Parties’ settlement are as follows:


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          CUEI’s answer contains defenses in addition to those addressed herein.


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             The Plaintiffs have submitted a calculation of their alleged damages to
              CUEI. According to those calculations, the three Plaintiffs are
              collectively owed a total of $10,793.86 in back pay and an equal
              amount in liquidated damages, totaling $21,587.72.

             After a period of negotiations through counsel, the Parties have agreed
              to settle Plaintiffs’ claims for a total of $17,500.00. Those funds are
              to be allocated as follows:

              Deshquic Fitzgerald: $1,500.00

              Lovett Brooks: $4,500.00

              Jones Ampratwum: $4,000.00

              Morgan & Morgan, P.A. (for attorneys’ fees and expenses):
              $7,500.00, allocated as $2,500.00 for each Plaintiff.

             The total settlement amount is over 80% of all alleged back pay and
              liquidated damages.

             The total amount allocated to Plaintiffs is over 92% of the alleged
              overtime back pay.

             The Parties have executed separate settlement agreements that include
              a general release of all claims against CUEI, Communications
              Unlimited, Inc., and Communications Unlimited Marketing, Inc. The
              settlement agreements also address other issues such as
              confidentiality.

      11.     Plaintiffs acknowledge and represent that they and their attorneys

carefully reviewed all of their relevant time records when calculating their alleged

damages and negotiating the proposed settlement. Plaintiffs also acknowledge that

it is their desire to resolve any claims against Communications Unlimited, Inc., and

Communications Unlimited Marketing, Inc., as well as CUEI.

      12.     The Parties believe that the proposed settlement is fair and reasonable,



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and that it is in their best interests to settle this action on the terms outlined herein.

Specifically, the Parties believe that the proposed settlement is fair and reasonable

for the following reasons:

             CUEI disputes that Plaintiffs are owed any overtime at all. CUEI
              maintains that its piece rate system is valid, and that two of the three
              Plaintiffs were independent contractors, not employees. One potential
              outcome of a trial on the merits, therefore, is that Plaintiffs will
              recover nothing.

             CUEI also maintains that Plaintiffs’ calculation of overtime hours
              worked is inflated. Another potential outcome is that, even if
              Plaintiffs are correct about liability, they will receive nothing or
              significantly less than they claim as damages.

             Despite these potential outcomes, each Plaintiff is receiving over 50%
              of their alleged backpay under the proposed settlement.

             The Parties desire to avoid the additional costs and fees associated
              with continuing discovery and a trial on the merits, particularly given
              the amount of potential damages at issue.

             Each Party is represented by legal counsel who in good faith
              negotiated the final proposed settlement.

      13.     In light of the foregoing, the Parties respectfully request that the Court

approve their settlement as fair and reasonable, and that the Court further approve

the release of any and all FLSA claims by Plaintiffs against CUEI,

Communications Unlimited, Inc., and/or Communications Unlimited Marketing,

Inc. The Parties also request that this action be dismissed, with prejudice, costs

taxed as paid.




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             Respectfully submitted this the 1st day of March, 2013.


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